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Attorney for Defendant
TUAN DAO
                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF CALIFORNIA


UNITED STATES OF AMERICA,                         Case No. 2:09-cr-0222-TLN
              Plaintiffs,                         STIPULATION AND ORDER
vs.
TUAN DAO,
              Defendant.
                                              /


              It is hereby stipulated and agreed to by the United States of America
through HEIKO P. COPPOLA, Assistant United States Attorney and defendant TUAN
DAO, by and through his attorney, KENNY N. GIFFARD, that the Judgment and
Sentencing set for Thursday, September 24, 2015, be continued to Judgment and
Sentencing on Thursday, November 19, 2015, at 9:30 a.m.
              This continuance is being requested because after the defendant was
diagnosed with serious heart and kidney problems in October 2014, he consulted with
and started treatment with medical specialists. He is still being treated for the aforesaid
medical problems and will be substantially improved by the time of the next date set for
sentencing.
              Additionally, the defendant, through counsel, has conferred with both the
                                              2
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________________________________________________________________________
Assistant United States Attorney and assigned Probation Officer to remedy discrepancies
found in the Pre-Sentence Report. Those issues in the Pre-Sentence Report prepared in
Mr. Dao’s portion of this case contained factual allegations which were not contemplated
by the parties when the PLEA AGREEMENT was made. Because of those
discrepancies,
portions of the Pre-Sentence Report were objected-to by this defendant and substantially
affect the “Offense Level” and potential sentence to be served by Mr. Dao in this case.
Further, the Report is being modified to apply the new sentencing guidelines approved by
the U. S. Sentencing Commission.
              The time requested will allow Mr. Dao to resolve his medical issues and
will also allow the United States Attorney, the Probation Officer, and defense counsel
time to resolve the disputed facts so that the matter may proceed for sentencing.
Dated: September 21, 2015
                                          Respectfully submitted,

                                          /s/ Kenny N. Giffard
                                          KENNY N. GIFFARD
                                          Attorney for Defendant
                                          TUAN DAO

                                          /s/ Kenny N. Giffard for
                                          ______________________________________
                                          HEIKO P. COPPOLA
                                          Assistant U.S. Attorney
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                                          ORDER
              Based upon the stipulation of the parties and good cause there appearing,
the Court hereby adopts the stipulation of the parties in its entirety as its order. The
Judgment and Sentencing is set for November 19, 2105, at 9:30 a.m.
Dated: September 21, 2015
                                           ______________________________________

                                      Troy L. Nunley
                                      United States District Judge
